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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MICHAEL B. PEASLEE,                           )
on behalf of plaintiff and                    )
the class members described                   )
herein,                                       )
                                              )
                       Plaintiff,             )         Case No.: 1:20-cv-1600
                                              )
               vs.                            )
                                              )
RADIUS GLOBAL SOLUTIONS LLC,                  )
                                              )
                       Defendant.             )
                               COMPLAINT -- CLASS ACTION
                                       INTRODUCTION

       1.      Plaintiff Michael B. Peaslee brings this action to secure redress from unlawful

credit and collection practices engaged in by defendant Radius Global Solutions LLC. Plaintiff

alleges violation of the Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq. (“FDCPA”).

       2.      The FDCPA broadly prohibits unfair or unconscionable collection methods,

conduct which harasses or abuses any debtor, and the use of any false or deceptive statements in

connection with debt collection attempts. It also requires debt collectors to give debtors certain

information. 15 U.S.C. §§1692d, 1692e, 1692f and 1692g.

       3.      In enacting the FDCPA, Congress found that: “[t]here is abundant evidence of the
use of abusive, deceptive, and unfair debt collection practices by many debt collectors. Abusive

debt collection practices contribute to the number of personal bankruptcies, to marital instability,

to the loss of jobs, and to invasions of individual privacy.” 15 U.S.C. §1692(a).

       4.      Because of this, courts have held that “the FDCPA's legislative intent emphasizes

the need to construe the statute broadly, so that we may protect consumers against debt

collectors' harassing conduct.” and that “[t]his intent cannot be underestimated.” Ramirez v.

Apex Financial Management LLC, 567 F.Supp.2d 1035, 1042 (N.D.Ill. 2008).


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       5.      The FDCPA encourages consumers to act as "private attorneys general" to

enforce the public policies and protect the civil rights expressed therein. Crabill v. Trans Union,

LLC, 259 F.3d 662, 666 (7th Cir. 2001).

       6.      Plaintiff seeks to enforce those policies and civil rights which are expressed

through the FDCPA, 15 U.S.C. §1692 et seq.

       7.      Plaintiff was harassed, misled and confused by the conduct complained of herein.
                                 VENUE AND JURISDICTION

       8.      This Court has jurisdiction under 15 U.S.C. §1692k (FDCPA), 28 U.S.C. §1331

and 28 U.S.C. §1337.

       9.      Venue and personal jurisdiction in this District are proper because:

               a.      Defendant’s collection communications (Exhibit A) were received by

                       plaintiff within this District;

               b.      Defendant does or transacts business within this District.
                                             PARTIES

       10.     Plaintiff Michael B. Peaslee is a resident of Harvard, Illinois.

       11.     Defendant Radius Global Solutions LLC is a limited liability company organized

under Minnesota law with principal offices at 7831 Glenroy Rd., Ste. 250, Edina, MN 55439. It

does business in Illinois. Its registered agent and office is CT Corporation System, 208 S.
LaSalle St., Suite 814, Chicago, IL 60604.

       12.     Defendant Radius Global Solutions LLC operates a collection agency.

       13.     Defendant Radius Global Solutions LLC describes its business as follows:

"Radius Global Solutions is a leading provider of account recovery and debt collection, customer

relationship management and healthcare revenue cycle management solutions."

(https://www.radiusgs.com/about-us/)

       14.     Defendant Radius Global Solutions LLC uses the mails and telephone system in

conducting business.


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        15.      Defendant Radius Global Solutions LLC has multiple offices:

                 a.      1111 Montgomery Street, Suite A, Decorah, IA 52101;

                 b.      9550 Regency Square Blvd, Suite 500, Jacksonville, FL 32225;

                 c.      4370 W 109th Street, Suite 100, Overland Park, KS 66211;

                 d.      500 North Franklin Turnpike, Suite 200, Ramsey, NJ 07446;

                 e.      1-3 Pimento Way, Cazoumar Freezone, Montego Bay, Jamaica;

                 f.      Ave. Simón Bolivar Centro Comercial Plaza, Panamá City, Panamá;

                 g.      501 & 601, A Wing, Powai Mumbai India 400076;

                 h.      7831 Glenroy Road, Suite 250, Edina, MN 55439;

                 i.      155 Mid Atlantic Pkwy., West Deptford, NJ 08066;

                 j.      108 Thomas Circle, Monticello, MN 55362;

                 k.      199 South Los Robles, Suite 830, Pasadena, CA 91101.

        16.      Defendant Radius Global Solutions LLC holds a collection agency license from

the state of Illinois.

        17.      Defendant Radius Global Solutions LLC is a debt collector as defined in the

FDCPA.
                                              FACTS

        18.      On our about Feb. 23, 2016, JH Portfolio Debt Equities LLC, now defunct,
filed a lawsuit against Mr. Peaslee in McHenry County, Illinois, case 16 SC 389.

        19.      The complaint sought to collect a Bank of America credit card debt, with account

number ending 1944, on which Mr. Peaslee allegedly owed about $2,597.

        20.      The debt was for personal, family or household purposes and not for business

purposes.

        21.      The lawsuit was dismissed without prejudice on June 10, 2016, after Mr. Peaslee

retained counsel to defend it.

        22.      The lawsuit was never refiled.


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        23.     On July 27, 2019, defendant Radius Global Solutions LLC sent plaintiff the letter

attached as Exhibit A.

        24.     The letter was sent on behalf of JH Liquidating Trust I, which was identified as

the current owner of the debt.

        25.     Exhibit A offers a settlement of the debt.

        26.     Exhibit A is a form letter.

        27.     On July 27, 2019, the debt had been in default for more than five years.

        28.     According to the records of Radius Global Solutions LLC, the last payment

on the debt had been made Feb. 28, 2011, and the debt was considered in default since May 12,

2011.

        29.     Exhibit A did not disclose that the debt was time-barred or that making a payment

could restart the statute of limitations.

        30.     Mr. Peaslee was concerned about the new collection activities on what seemed to

be an old debt and retained counsel to deal with it.
                                        COUNT I -- FDCPA

        31.     Plaintiff incorporates paragraphs 1-30.

        32.     Defendant violated 15 U.S.C. §1692e, 1692e(2), and 1692e(10) by offering to

settle a time-barred debt without disclosure of the fact that it was time-barred.
                                      CLASS ALLEGATIONS

        33.     Plaintiff brings this claim on behalf of a class, pursuant to Fed.R.Civ.P. 23(a) and

23(b)(3).

        34.     The class consists of (a) all individuals with addresses in Illinois, (b) to whom

Defendant Radius Global Solutions LLC sent a letter (c) offering to settle a credit card debt (d)

more than five years after the later of default or last payment (e) which letter did not disclose that

the debt was time-barred and that suit could not be filed on it (f) which letter was sent at any

time during a period beginning one year prior to the filing of this action and ending 21 days after


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the filing of this action.

        35.     On information and belief, based on the size of Defendant, the fact that debts are

normally placed in groups of similar debts, and the use of a form letter, the class is so numerous

that joinder of all members is not practicable.

        36.     There are questions of law and fact common to the class members, which

common questions predominate over any questions relating to individual class members. The

predominant common questions are whether Defendant engages in a practice of attempting to

settle time-barred debts without disclosure of the fact that they are time-barred, and whether

such practice violates the FDCPA.

        37.     Plaintiff’s claim is typical of the claims of the class members. All are based on

the same factual and legal theories.

        38.     Plaintiff will fairly and adequately represent the class members. Plaintiff has

retained counsel experienced in class actions and FDCPA litigation.

        39.     A class action is superior for the fair and efficient adjudication of this matter, in

that:

                a.      Individual actions are not economically feasible.

                b.      Members of the class are likely to be unaware of their rights;

                c.      Congress intended class actions to be the principal enforcement

                        mechanism under the FDCPA.




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       WHEREFORE, the Court should enter judgment in favor of Plaintiff and the class and

against Defendant for:

                         i.     Statutory damages;

                         ii.    Actual damages, including all amounts collected on time-barred

                                debts;

                         iii.   Attorney’s fees, litigation expenses and costs of suit;

                         iv.    Such other and further relief as the Court deems proper.




                                               /s/ Daniel A. Edelman
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                          NOTICE OF LIEN AND ASSIGNMENT

        Please be advised that we claim a lien upon any recovery herein for 1/3 or such amount
as a court awards. All rights relating to attorney’s fees have been assigned to counsel.



                                            /s/ Daniel A. Edelman
                                            Daniel A. Edelman



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